Case 1:18-cr-00204-NGG-VMS Document 28 Filed 04/27/18 Page 1 of 3 PageID #: 126




                 >61^ c-^/sct^.
         yCLy.i^ -y::^ C/a.vit' Jy^ -yz^   cyJiA^ ^dz^ky^   /yi-nzis4i^

 yh-'         -i^TLj aJigKyh^         ::dy A^/x^u^
            24                             yZdykC •T^ya- ,y}^
           ^ ^'cy=z^'- cL^kded:



                                                ^ -e-i^




                                       y          f jt\^
                          U.^ POSTAGE
                          india'n rocks beach, fl
    iwiZffiSSS.
    pCSTALSWiU*
         1023
                            $6.70
                           R2304E107165-5
                  IIKil
                                                    H
                                                    8
                                                    w
                                                    •fl
                                                    i-fi}
                                                    .,H
                                                    O
                                                    CM
                                                    •fl
                                                    •fj
                   ^ wiilTM *
                     BROOKLYN QFF'CE
04-NGG-VMS Document 28 Filed 04/27/18 Page 2 o
04-NGG-VMS Document 28 Filed 04/27/18 Page 3 o
